    Case 16-70245-hdh7 Doc 277 Filed 09/21/20                                      Entered 09/21/20 18:53:24                         Page 1 of 33




                                          UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                               WICHITA FALLS DIVISION

In re:                                                                 §      Case No. 16-70245-HDH7
                                                                       §
TOTAL OPERATING, LLC                                                   §
                                                                       §
                                                                       §
                            Debtor                                     §

                                     TRUSTEE’S AMENDED FINAL REPORT (TFR)

The undersigned trustee hereby makes this Amended Final Report and states as follows:

     1. A petition under chapter 7 of the United States Bankruptcy Code was filed on 07/30/2016. The
        undersigned trustee was appointed on 07/30/2016.

     2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. § 704.

     3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor
        as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to
        11 U.S.C. § 554. An individual estate property record and report showing the disposition of all
        property of the estate is attached as Exhibit A.

      4.         The trustee realized gross receipts of                                                                          $516,968.35

                          Funds were disbursed in the following amounts:

                          Payments made under an interim distribution                                                                  $0.00
                          Administrative expenses                                                                                $273,631.33
                          Bank service fees                                                                                       $13,851.17
                          Other Payments to creditors                                                                             $71,677.62
                          Non-estate funds paid to 3rd Parties                                                                         $0.00
                          Exemptions paid to the debtor                                                                                $0.00
                          Other payments to the debtor                                                                                 $0.00

                          Leaving a balance on hand of1                                                                          $157,808.23

           The remaining funds are available for distribution.

     5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.


1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursements will be distributed pro
rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum compensation set forth under
11 U.S.C. § 326(a) on account of the disbursement of the additional interest.

UST Form 101-7-TFR (5/1/2011)
    Case 16-70245-hdh7 Doc 277 Filed 09/21/20                                      Entered 09/21/20 18:53:24                        Page 2 of 33


     6. The deadline for filing non-governmental claims in this case was 12/15/2016 and the deadline
        for filing government claims was 12/15/2016. All claims of each class which will receive a
        distribution have been examined and any objections to the allowance of claims have been
        resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
        made, is attached as Exhibit C.

     7. The Trustee’s proposed distribution is attached as Exhibit D.

     8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
        $20,680.00. To the extent that additional interest is earned before case closing, the maximum
        compensation may increase.

        The trustee has received $0.00 as interim compensation and now requests the sum of
$20,680.00, for a total compensation of $20,680.002. In addition, the trustee received reimbursement
for reasonable and necessary expenses in the amount of $0.00, and now requests reimbursement for
expenses of $329.77, for total expenses of $329.77.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing
report is true and correct.

Date: 08/10/2020                                                         By:       /s/ Shawn K. Brown
                                                                                   Trustee

STATEMENT: This Uniform form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




2
 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the Trustee’s Proposed
Distribution (Exhibit D).

UST Form 101-7-TFR (5/1/2011)
                                           Case 16-70245-hdh7 Doc 277 Filed 09/21/20
                                                                                FORM 1
                                                                                       Entered 09/21/20 18:53:24                                 Page 3 of 33
                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    1              Exhibit A
                                                                                 ASSET CASES

Case No.:                      16-70245-HDH                                                                                            Trustee Name:                               Shawn K. Brown
Case Name:                     TOTAL OPERATING, LLC                                                                                    Date Filed (f) or Converted (c):            07/30/2016 (f)
For the Period Ending:         8/10/2020                                                                                               §341(a) Meeting Date:                       08/30/2016
                                                                                                                                       Claims Bar Date:                            12/15/2016

                                    1                               2                        3                                 4                        5                                         6

                         Asset Description                        Petition/           Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                        Unscheduled          (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                     Value                    Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                    Less Liens, Exemptions,
                                                                                       and Other Costs)

 Ref. #
1       Bank Funds-FSB Chico                                        $33,938.20                        $41,880.96                                       $41,880.96                                             FA
2       SemGroup shares-15                                (u)              $0.00                         $848.76                                            $372.66                                           FA
3       Triumph Savings Bank escrow and cash reserves               $32,912.84                                $0.00                                           $0.00                                           FA
Asset Notes:       Factored A/R
4       IPFS Corp-Insurance Finance Company                         $24,583.12                        $24,583.12                                        $2,444.48                                             FA
5       Republic Services utility deposit                                $750.00                         $750.00                                              $0.00                                           FA
6       Capital One account 2370 (overdrawn)                               $0.00                              $0.00                                           $0.00                                           FA
7       Capital One savings account 2389                                  $12.03                          $12.03                                              $0.00                                           FA
8       Accounts receivables                                        $25,511.00                            $50.00                                             $50.00                                           FA
9       Uninvoiced accounts receivables                             $75,000.00                                $0.00                                           $0.00                                           FA
10      Office furniture                                                $1,517.00                             $0.00                                         $833.03                                           FA
11      Office equipment                                            $22,754.00                                $0.00                                         $271.01                                           FA
12      Vehicles and equipment                                    $1,008,500.00                               $0.00                                   $452,043.62                                             FA
13      Office trailer                                              $19,292.00                                $0.00                                           $0.00                                           FA
14      Storage building                                                   $0.00                              $0.00                                           $0.00                                           FA
15      Employee loans Cuellar and Villegas                             $3,616.68                      $3,616.68                                              $0.00                                           FA
16      Lawsuit vs. Allens and Brickley                           $1,000,000.00                      $100,000.00                                              $0.00                                           FA
17      Capital One Credit Card credit balance #4699      (u)              $0.00                          $42.83                                             $42.83                                           FA
17      Capital One Credit Card credit balance #4699      (u)              $0.00                          $42.83                                              $0.00                                           FA
18      Post petition rent for 3 F-250 Trucks             (u)              $0.00                       $2,079.00                                        $2,079.00                                             FA
19      ADT Security Refund                               (u)              $0.00                         $195.98                                            $195.98                                           FA
20      Insurance refund-Travelers                        (u)              $0.00                      $16,740.00                                       $16,740.00                                             FA
Asset Notes:       Letter 3.14.17
21      Claims against Jacob Waters and Barrett Dean      (u)              $0.00                      $55,000.00                                              $0.00                                           FA
Asset Notes:       Settled and released
22      Caterpillar credit refund                         (u)              $0.00                          $14.78                                             $14.78                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                 Gross Value of Remaining Assets
                                                                  $2,248,386.87                     $245,856.97                                       $516,968.35                                        $0.00
                                       Case 16-70245-hdh7 Doc 277 Filed 09/21/20
                                                                            FORM 1
                                                                                   Entered 09/21/20 18:53:24                   Page 4 of 33
                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                         Page No:    2              Exhibit A
                                                                           ASSET CASES

Case No.:                  16-70245-HDH                                                                              Trustee Name:                              Shawn K. Brown
Case Name:                 TOTAL OPERATING, LLC                                                                      Date Filed (f) or Converted (c):           07/30/2016 (f)
For the Period Ending:     8/10/2020                                                                                 §341(a) Meeting Date:                      08/30/2016
                                                                                                                     Claims Bar Date:                           12/15/2016

                              1                                2                   3                         4                        5                                         6

                       Asset Description                     Petition/      Estimated Net Value           Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                     Unscheduled     (Value Determined by           Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                  Value               Trustee,          OA =§ 554(a) abandon.         the Estate
                                                                          Less Liens, Exemptions,
                                                                             and Other Costs)


    Major Activities affecting case closing:
                                       Case 16-70245-hdh7 Doc 277 Filed 09/21/20
                                                                            FORM 1
                                                                                   Entered 09/21/20 18:53:24                          Page 5 of 33
                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                              Page No:    3              Exhibit A
                                                                             ASSET CASES

Case No.:                  16-70245-HDH                                                                                     Trustee Name:                              Shawn K. Brown
Case Name:                 TOTAL OPERATING, LLC                                                                             Date Filed (f) or Converted (c):           07/30/2016 (f)
For the Period Ending:     8/10/2020                                                                                        §341(a) Meeting Date:                      08/30/2016
                                                                                                                            Claims Bar Date:                           12/15/2016

                              1                                  2                        3                         4                        5                                         6

                       Asset Description                       Petition/           Estimated Net Value           Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                       Unscheduled          (Value Determined by           Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                    Value                    Trustee,          OA =§ 554(a) abandon.         the Estate
                                                                                 Less Liens, Exemptions,
                                                                                    and Other Costs)

     10/23/2019     ASSETS ARE VEHICLES, EQUIPMENT, A/R, CASH, CHAPTER 5 ACTIONS AND LITIGATION CLAIMS


                    UPDATE 10.13.16-AUCTION SALE APPROVED AND PROCEEDING 10.13.16.


                    UPDATE 5.17.17-AUCTION CONCLUDED. LITIGATION PENDING. POTENTIAL CHAPTER 5 ACTIONS BEING ANALYZED.


                    UPDATE 10.24.17-LITIGATION PENDING. CHAPTER 5 ACTIONS BEING REVIEWED BY CPA.


                    UPDATE 4.11.18-HEARING ON SALE OF CAUSES OF ACTION SCHEDULED FOR APRIL 19, 2018.


                    UPDATE 10.16.18-SALE OF CLAIMS ORDER IS ON APPEAL. SPECIAL COUNSEL HAS BEEN ENGAGED TO PURSUE LITIGATION PENDING OUTCOME OF APPEAL .


                    UPDATE 4.24.19 – ORDER ON SALE OF CLAIMS TO RETICULUM WAS UPHELD ON APPEAL. TRUSTEE HAD INITIATED AN ADVERSARY CASE AGAINST
                    RETICULUM PENDING THE OUTCOME OF THE APPEAL, AND THAT CASE SHALL REMAIN PENDING UNTIL A RESOLUTION IS REACHED ON RETICULUM’S
                    COMPLIANCE WITH THE SALE OF CLAIMS ORDER. THE TRUSTEE’S LAWSUIT AGAINST INSIDERS JACOB WATTERS AND BARRETT DEAN HAS BEEN
                    STAYED DUE TO THE CHAPTER 7 BANKRUPTCY FILING OF ONE OF THE DEFENDANTS, IN RE WILLIAM BERRY DEAN, III, BANKR. N.D. TEX. 19-31232.


                    UPDATE 10.23.19-LITIGATION WITH RETICULUM MANAGEMENT RESOLVED. CLAIMS OBJECTIONS IN PROCESS. TAX COMPLIANCE IN PROCESS.




                    MAJOR ACTIVITIES:


                    SECURE PROPERTY-DONE
                    SECURE DOCUMENTS AND DATA-DONE

                    CLAIMS BAR DATE SET: 9.16.16
                    CLAIMS REVIEW DATE: 7.30.18
                    CLAIMS OBJECTIONS FILED DATE: 7.30.18
                    FINAL ALLOWANCE DATE:


                    EMPLOY CPA: DONE
                                       Case 16-70245-hdh7 Doc 277 Filed 09/21/20
                                                                            FORM 1
                                                                                   Entered 09/21/20 18:53:24                                      Page 6 of 33
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                     Page No:    4              Exhibit A
                                                                                  ASSET CASES

Case No.:                  16-70245-HDH                                                                                                 Trustee Name:                              Shawn K. Brown
Case Name:                 TOTAL OPERATING, LLC                                                                                         Date Filed (f) or Converted (c):           07/30/2016 (f)
For the Period Ending:     8/10/2020                                                                                                    §341(a) Meeting Date:                      08/30/2016
                                                                                                                                        Claims Bar Date:                           12/15/2016

                               1                                      2                          3                              4                        5                                         6

                       Asset Description                            Petition/             Estimated Net Value                Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                            Unscheduled            (Value Determined by                Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                         Value                      Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                        Less Liens, Exemptions,
                                                                                           and Other Costs)

                    TAX RETURN 505 LETTER SENT DATE: 2016 and 2017 sent 7.31.18
                    PROMPT DETERMINATION RECEIVED DATE: Audit finalized and letter received 1.21.20


                    PREFERENCE/FRAUDULENT TRANSFER REVIEW


                    TFR PREPARED AND SENT TO UST DATE: 3.16.20
                    TFR APPROVED AND FILED DATE:
                    FEE APPLICATIONS FILED DATE:
                    TFR FINAL AND CHECKS MAILED DATE:
                    ZERO BALANCE DATE:
                    TDR SENT TO UST DATE:
                    TDR FILED DATE:


Initial Projected Date Of Final Report (TFR):    12/31/2020                     Current Projected Date Of Final Report (TFR):                                /s/ SHAWN K. BROWN
                                                                                                                                                             SHAWN K. BROWN
                                         Case 16-70245-hdh7 Doc 277 Filed 09/21/20
                                                                              FORMEntered
                                                                                   2      09/21/20 18:53:24                               Page 7 ofPage
                                                                                                                                                    33No: 1                      Exhibit B
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH                                                                          Trustee Name:                        Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                  Bank Name:                           Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                            Checking Acct #:                    ******0245
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
For Period Beginning:              7/30/2016                                                                             Blanket bond (per case limit):       $300,000.00
For Period Ending:                 8/10/2020                                                                             Separate bond (if applicable):

       1                2                                   3                                         4                                         5                6                      7

   Transaction       Check /                            Paid to/              Description of Transaction                  Uniform            Deposit        Disbursement              Balance
      Date            Ref. #                         Received From                                                       Tran Code             $                 $


08/18/2016            (8)      MELISSA COWLEY                        A/R                                                  1121-000              $50.00                                       $50.00
08/18/2016            (17)     CAPITAL ONE BANK                      Credit balance card #4699                            1221-000              $42.83                                       $92.83
08/31/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                      $0.06                $92.77
09/02/2016            (1)      FIRST STATE BANK CHICO                Bank funds turnover                                  1129-000           $41,880.96                                 $41,973.73
09/13/2016            (2)      SEMGROUP                              STOCK DIVIDEND                                       1223-000                  $6.75                               $41,980.48
09/13/2016            (18)     WH OPERATING LLC                      RENT FOR 3 F-250 TRUCK LEASES                        1229-000            $2,079.00                                 $44,059.48
09/30/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                     $56.47           $44,003.01
09/30/2016           2001      Clerk, US Bankruptcy Court            Certified copy                                       2700-000                                     $11.50           $43,991.51
10/05/2016            (2)      SemGroup                              Stock account                                        1223-000              $42.06                                  $44,033.57
10/10/2016            (2)      SEMGROUP                              STOCK DIVIDEND                                       1223-000             $323.85                                  $44,357.42
10/26/2016            (19)     ADT SECURITY SERVICES                 Refund                                               1290-000             $195.98                                  $44,553.40
10/31/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                     $71.39           $44,482.01
11/07/2016                     ROSEN SYSTEMS INC.                    AUCTION SALE PROCEEDS                                   *              $451,197.66                                $495,679.67
                      {10}                                                                                    $833.03     1129-000                                                     $495,679.67
                      {11}                                                                                    $271.01     1129-000                                                     $495,679.67
                      {12}                                                                                 $450,093.62    1129-000                                                     $495,679.67
11/14/2016           2002      Operating Capital LLC                 Administrative rent per order                        2410-000                                   $8,000.00         $487,679.67
11/30/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $608.55          $487,071.12
12/21/2016           2003      Rosen Systems, Inc.                   Auctioneer expenses-Order DE# 68                     3620-000                               $24,472.12            $462,599.00
12/31/2016                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $780.52          $461,818.48
01/26/2017           2004      George Adams and Co Ins. Agency LLC   Separate bond payment                                2300-000                                    $693.00          $461,125.48
01/31/2017                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $744.88          $460,380.60
02/28/2017                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $670.70          $459,709.90
03/29/2017           2005      Capital One, National Association     Order DE# 79                                         4210-000                               $65,253.06            $394,456.84
03/31/2017                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $738.09          $393,718.75
04/11/2017            (20)     TRAVELERS PROPERTY CASUALTY           Premium refund                                       1229-000           $16,740.00                                $410,458.75
04/30/2017                     Integrity Bank                        Bank Service Fee                                     2600-000                                    $630.24          $409,828.51
05/18/2017            (12)     Rosen Systems, Inc.                   Sale proceeds trailer                                1129-000            $1,950.00                                $411,778.51
                                                                                                                         SUBTOTALS          $514,509.09         $102,730.58
                                         Case 16-70245-hdh7 Doc 277 Filed 09/21/20
                                                                              FORMEntered
                                                                                   2      09/21/20 18:53:24                                Page 8 ofPage
                                                                                                                                                     33No: 2                    Exhibit B
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          16-70245-HDH                                                                           Trustee Name:                      Shawn K. Brown
 Case Name:                        TOTAL OPERATING, LLC                                                                   Bank Name:                         Independent Bank
Primary Taxpayer ID #:             **-***0017                                                                             Checking Acct #:                  ******0245
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:
For Period Beginning:              7/30/2016                                                                              Blanket bond (per case limit):     $300,000.00
For Period Ending:                 8/10/2020                                                                              Separate bond (if applicable):

       1                2                                 3                                         4                                           5               6                      7

   Transaction       Check /                            Paid to/            Description of Transaction                     Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                        Tran Code            $                $


05/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $609.75          $411,168.76
06/30/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $591.10          $410,577.66
07/13/2017           2006      Rosen Systems, Inc.                   Expenses Order DE# 115                                3620-000                                  $377.54          $410,200.12
07/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $609.67          $409,590.45
08/07/2017            (4)      IPFS CORPORATION                      Unearned premium refund-DEPOSIT RETURNED-NOT          1121-000          $3,119.48                                $412,709.93
                                                                     AUTHORIZED-PREVIOUSLY PAID BY TRAVELERS.
08/21/2017            (4)      DEP REVERSE: IPFS CORPORATION         Unearned premium refund-DEPOSIT RETURNED-NOT          1121-000          ($3,119.48)                              $409,590.45
                                                                     AUTHORIZED-PREVIOUSLY PAID BY TRAVELERS.
08/28/2017            (4)      IPFS CORPORATION                      REFUND                                                1121-000          $2,444.48                                $412,034.93
08/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $608.99          $411,425.94
09/30/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $591.47          $410,834.47
10/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $610.31          $410,224.16
11/30/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $589.74          $409,634.42
12/13/2017           2007      George Adams and Co Ins. Agency LLC   Separate bond payment-Invoice 2822 1/25/18-1/25/19    2300-000                                  $693.00          $408,941.42
12/31/2017                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $608.09          $408,333.33
01/31/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $606.59          $407,726.74
02/28/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $547.07          $407,179.67
03/31/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $604.88          $406,574.79
04/30/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $584.49          $405,990.30
05/01/2018            (22)     CATERPILLAR                           Credit balance refund                                 1290-000             $14.78                                $406,005.08
05/31/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $603.13          $405,401.95
06/30/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $582.82          $404,819.13
07/31/2018                     Integrity Bank                        Bank Service Fee                                      2600-000                                  $601.38          $404,217.75
08/05/2018                     Independent Bank                      Bank Service Fee                                      2600-000                                   $96.86          $404,120.89
08/06/2018                     Independent Bank                      Bank Service Fee                                      2600-000                                  ($96.86)         $404,217.75
08/31/2018                     Independent Bank                      Bank Service Fee                                      2600-000                                 $7,073.81         $397,143.94
09/05/2018                     Independent Bank                      Bank Service Fee                                      2600-000                              ($7,073.81)          $404,217.75
09/06/2018                     Independent Bank                      Bank Service Fee                                      2600-000                                  $600.79          $403,616.96
                                                                                                                          SUBTOTALS           $2,459.26         $10,620.81
                                        Case 16-70245-hdh7 Doc 277 Filed 09/21/20
                                                                             FORMEntered
                                                                                  2      09/21/20 18:53:24                                           Page 9 ofPage
                                                                                                                                                               33No: 3                        Exhibit B
                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         16-70245-HDH                                                                                      Trustee Name:                         Shawn K. Brown
 Case Name:                       TOTAL OPERATING, LLC                                                                              Bank Name:                            Independent Bank
Primary Taxpayer ID #:            **-***0017                                                                                        Checking Acct #:                      ******0245
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             7/30/2016                                                                                         Blanket bond (per case limit):        $300,000.00
For Period Ending:                8/10/2020                                                                                         Separate bond (if applicable):

       1                2                                3                                           4                                                    5                   6                      7

   Transaction       Check /                          Paid to/              Description of Transaction                               Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                       Received From                                                                    Tran Code            $                   $


01/04/2019           2008      George Adams and Co Ins. Agency LLC   Bond renewal-reduced $410,000                                   2300-000                                      $615.00          $403,001.96
12/17/2019           2009      George Adams and Co Ins. Agency LLC   Bond renewal-reduced $410,000 effective                         2300-000                                      $615.00          $402,386.96
                                                                     12/25/20-1/25/21
02/03/2020           2010      Reticulum Management, LLC             Order Dkt# 253                                                  4210-000                                     $6,424.56         $395,962.40
03/04/2020            2011     Rochelle McCullough LLP               Order Dkt # 261                                                 3210-000                                $163,974.59            $231,987.81
03/04/2020           2012      Rochelle McCullough LLP               Order Dkt# 261                                                  3220-000                                 $14,379.41            $217,608.40
03/04/2020           2013      Litzler Segner Shaw & McKenney LLP    Order Dkt# 261                                                  3410-000                                 $59,445.00            $158,163.40
03/04/2020           2014      Litzler Segner Shaw & McKenney LLP    Order Dkt# 261                                                  3420-000                                      $355.17          $157,808.23

                                                                                       TOTALS:                                                         $516,968.35           $359,160.12            $157,808.23
                                                                                           Less: Bank transfers/CDs                                          $0.00                 $0.00
                                                                                       Subtotal                                                        $516,968.35           $359,160.12
                                                                                           Less: Payments to debtors                                         $0.00                 $0.00
                                                                                       Net                                                             $516,968.35           $359,160.12



                     For the period of 7/30/2016 to 8/10/2020                                                    For the entire history of the account between 08/18/2016 to 8/10/2020

                     Total Compensable Receipts:                     $516,968.35                                 Total Compensable Receipts:                               $516,968.35
                     Total Non-Compensable Receipts:                       $0.00                                 Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $516,968.35                                 Total Comp/Non Comp Receipts:                             $516,968.35
                     Total Internal/Transfer Receipts:                     $0.00                                 Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                $359,160.12                                 Total Compensable Disbursements:                          $359,160.12
                     Total Non-Compensable Disbursements:                  $0.00                                 Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $359,160.12                                 Total Comp/Non Comp Disbursements:                        $359,160.12
                     Total Internal/Transfer Disbursements:                $0.00                                 Total Internal/Transfer Disbursements:                          $0.00
                                      Case 16-70245-hdh7 Doc 277 Filed 09/21/20
                                                                            FORMEntered
                                                                                 2      09/21/20 18:53:24                                     Page 10 ofPage
                                                                                                                                                          33No: 4                     Exhibit B
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         16-70245-HDH                                                                                Trustee Name:                         Shawn K. Brown
Case Name:                       TOTAL OPERATING, LLC                                                                        Bank Name:                            Independent Bank
Primary Taxpayer ID #:           **-***0017                                                                                  Checking Acct #:                      ******0245
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:
For Period Beginning:            7/30/2016                                                                                   Blanket bond (per case limit):        $300,000.00
For Period Ending:               8/10/2020                                                                                   Separate bond (if applicable):

      1                 2                                3                                       4                                                 5                   6                     7

  Transaction        Check /                         Paid to/            Description of Transaction                           Uniform           Deposit          Disbursement              Balance
     Date             Ref. #                      Received From                                                              Tran Code            $                   $




                                                                                                                                                                           NET               ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                               NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                               $516,968.35          $359,160.12             $157,808.23




                     For the period of 7/30/2016 to 8/10/2020                                             For the entire history of the case between 07/30/2016 to 8/10/2020

                     Total Compensable Receipts:                  $516,968.35                             Total Compensable Receipts:                               $516,968.35
                     Total Non-Compensable Receipts:                    $0.00                             Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $516,968.35                             Total Comp/Non Comp Receipts:                             $516,968.35
                     Total Internal/Transfer Receipts:                  $0.00                             Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:             $359,160.12                             Total Compensable Disbursements:                          $359,160.12
                     Total Non-Compensable Disbursements:               $0.00                             Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:           $359,160.12                             Total Comp/Non Comp Disbursements:                        $359,160.12
                     Total Internal/Transfer Disbursements:             $0.00                             Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                          /s/ SHAWN K. BROWN
                                                                                                                          SHAWN K. BROWN
                                        Case 16-70245-hdh7 Doc 277 Filed 09/21/20                      Entered 09/21/20 18:53:24               Page 11 of 33
                                                                                         CLAIM ANALYSIS REPORT                                        Page No: 1               Exhibit C


   Case No.                      16-70245-HDH                                                                                        Trustee Name:            Shawn K. Brown
   Case Name:                    TOTAL OPERATING, LLC                                                                                Date:                    8/10/2020
   Claims Bar Date:              12/15/2016

 Claim                Creditor Name          Claim           Claim Class       Claim       Uniform    Scheduled     Claim        Amount          Amount        Interest        Tax            Net
  No.:                                       Date                              Status     Tran Code    Amount      Amount        Allowed          Paid                                     Remaining
                                                                                                                                                                                            Balance

          SHAWN K. BROWN                   09/14/2016   Trustee Expenses       Allowed     2200-000        $0.00      $329.77       $329.77           $0.00         $0.00         $0.00       $329.77
         P.O. Box 93749
         Southlake TX 76092
        ROCHELLE                           10/13/2016   Attorney for Trustee   Allowed     3210-000        $0.00   $252,274.50   $163,974.59    $163,974.59         $0.00         $0.00         $0.00
        MCCULLOUGH LLP                                  Fees (Other Fi
         325 N. St. Paul St., Suite 4500
         Dallas TX 75201
Claim Notes: Order Dkt # 261
        ROCHELLE                           10/13/2016   Attorney for Trustee   Allowed     3220-000        $0.00    $14,379.41    $14,379.41     $14,379.41         $0.00         $0.00         $0.00
        MCCULLOUGH LLP                                  Expenses (Othe
         325 N. St. Paul St., Suite 4500
         Dallas TX 75201
Claim Notes: Order Dkt # 261
        OPERATING CAPITAL                  11/14/2016   Administrative Rent    Allowed     2410-000        $0.00     $8,000.00     $8,000.00      $8,000.00         $0.00         $0.00         $0.00
        LLC                                             (post-petition
         4916 US Highway 287
         Bowie TX 76230
Claim Notes: Order DE# 51
          ROSEN SYSTEMS, INC.              12/21/2016   Auctioneer for         Allowed     3620-000        $0.00    $24,849.66    $24,849.66     $24,849.66         $0.00         $0.00         $0.00
                                                        Trustee Expenses
         c/o Mike Rosen
         2323 Langford
         Dallas TX 75208
        GEORGE ADAMS AND               01/26/2017       Bond Payments          Allowed     2300-000        $0.00     $2,616.00     $2,616.00      $2,616.00         $0.00         $0.00         $0.00
        CO INS. AGENCY LLC
         4501 Cartwright, Suite 402
         Missouri City TX 77459
Claim Notes: Separate trustee bond invoice 2084
        LITZLER SEGNER SHAW                02/12/2018   Accountant for         Allowed     3410-000        $0.00    $82,945.00    $59,445.00     $59,445.00         $0.00         $0.00         $0.00
        & MCKENNEY LLP                                  Trustee Fees (Other
         c/o Milo H. Segner, Jr.
         1412 Main Street, Suite 2400
         Dallas TX 75202
Claim Notes: Order Dkt # 260
                                        Case 16-70245-hdh7 Doc 277 Filed 09/21/20                        Entered 09/21/20 18:53:24                Page 12 of 33
                                                                                           CLAIM ANALYSIS REPORT                                          Page No: 2               Exhibit C


  Case No.                      16-70245-HDH                                                                                            Trustee Name:             Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                                    Date:                     8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name          Claim           Claim Class         Claim        Uniform    Scheduled      Claim        Amount          Amount         Interest        Tax            Net
  No.:                                      Date                                Status      Tran Code    Amount       Amount        Allowed          Paid                                      Remaining
                                                                                                                                                                                                Balance

        LITZLER SEGNER SHAW               02/12/2018   Accountant for          Allowed       3420-000         $0.00      $355.17       $355.17          $355.17         $0.00         $0.00          $0.00
        & MCKENNEY LLP                                 Trustee Expenses (Ot
         c/o Kelly McCullough
         1412 Main Street, Suite 2400
         Dallas TX 75202
Claim Notes: Order Dkt # 260
          SHAWN K. BROWN                  02/25/2019   Trustee                 Allowed       2100-000         $0.00    $20,680.00    $20,680.00           $0.00         $0.00         $0.00     $20,680.00
                                                       Compensation
         P.O. Box 93749
         Southlake TX 76092
Claim Notes: Agreed reduction of $8,418.42.
          INTERNAL REVENUE                02/25/2019   Priority Claims of      Allowed       5800-000         $0.00     $1,086.82     $1,086.82           $0.00         $0.00         $0.00      $1,086.82
          SERVICE                                      Governmental Units -
                                                       507(a)(8)
          TEXAS WORKFORCE                 02/25/2019   Priority Claims of      Allowed       5800-000         $0.00      $130.42       $130.42            $0.00         $0.00         $0.00       $130.42
          COMMISSION                                   Governmental Units -
                                                       507(a)(8)
      1 HOLT TEXAS LTD. DBA               08/03/2016   General Unsecured       Allowed       7100-000   $364,467.05   $368,226.09   $368,226.09           $0.00         $0.00         $0.00    $368,226.09
        HOLT CAT                                       726(a)(2)
         2000 E. Airport Freeway
         Irving TX 75062
Claim Notes: Allow
      2 LINK FIELD SERVICES,              08/09/2016   General Unsecured       Allowed       7100-000     $5,375.50     $5,375.50     $5,375.50           $0.00         $0.00         $0.00      $5,375.50
        INC.                                           726(a)(2)
         c/o Richards, Elder & Green
         PLLC
         12223 Quaker Ave
         Lubbock TX 79424
Claim Notes: Allow
                Updated address 7.6.20
     3 BOWE ISD                           08/09/2016   Real Property Tax      Disallowed     4700-000         $0.00     $3,457.00         $0.00           $0.00         $0.00         $0.00          $0.00
                                                       Liens (pre-petiti
         CO Perdue Brandon Fielder
         Collins & Mott
         PO BOX 8188
         Wichita Falls TX 76307-8188
Claim Notes: Disallowed Order Dkt# 219
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                          Entered 09/21/20 18:53:24              Page 13 of 33
                                                                                          CLAIM ANALYSIS REPORT                                      Page No: 3               Exhibit C


  Case No.                      16-70245-HDH                                                                                         Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                                 Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name         Claim           Claim Class         Claim        Uniform    Scheduled      Claim       Amount         Amount       Interest         Tax           Net
  No.:                                     Date                                Status      Tran Code    Amount       Amount       Allowed         Paid                                    Remaining
                                                                                                                                                                                           Balance

      4   BOWIE ISD                     08/15/2016    Real Property Tax      Disallowed     4700-000        $0.00     $7,692.73       $0.00          $0.00         $0.00         $0.00         $0.00
                                                      Liens (pre-petiti
         CO Perdue Brandon Fielder
         Collins & Mott
         PO BOX 8188
         Wichiata Falls TX 76307-8188
Claim Notes: Disallowed Order Dkt# 220
      5   AIRGAS USA, LLC               08/19/2016    General Unsecured       Allowed       7100-000     $2,046.00    $3,998.20    $3,998.20         $0.00         $0.00         $0.00     $3,998.20
                                                      726(a)(2)
         110 West 7th Street, Suite 1300
         Tulsa OK 74119
Claim Notes: Updated pay address
                Allow
     6 LAURA                             08/22/2016   Pre Petition Wages -    Allowed       5300-000        $0.00     $2,153.60    $2,153.60         $0.00         $0.00       $595.47     $1,558.13
        HAYEK-ANDERSON                                507(a)(4)
         1071 Lake Carolyn Parkway
         #1009
         Irving TX 75039
Claim Notes: Wage (vacation) claim
                Allow
                Updated address
     7 DISA GLOBAL                       08/24/2016   General Unsecured       Allowed       7100-000      $630.50      $480.50      $480.50          $0.00         $0.00         $0.00       $480.50
        SOLUTIONS, INC.                               726(a)(2)
         10900 Corporate Centre Dr Suite
         250
         Houston TX 77041
Claim Notes: Allow
      8   GARY COX                      08/26/2016    Pre Petition Wages -    Allowed       5300-000        $0.00     $3,900.00    $3,900.00         $0.00         $0.00      $1,078.35    $3,900.00
                                                      507(a)(4)
         817 Denver
         Alvord TX 76225
Claim Notes: Wage claim
               Allow
     9 MARTY HENSON                     08/29/2016    Pre Petition Wages -    Allowed       5300-000        $0.00     $2,700.00    $2,700.00         $0.00         $0.00       $746.55     $1,953.45
                                                      507(a)(4)
         209 Elizabeth St.
         Nocona TX 76255
Claim Notes: Vacation
                Allow
                                         Case 16-70245-hdh7 Doc 277 Filed 09/21/20                     Entered 09/21/20 18:53:24                Page 14 of 33
                                                                                         CLAIM ANALYSIS REPORT                                        Page No: 4               Exhibit C


  Case No.                      16-70245-HDH                                                                                          Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                                  Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name           Claim           Claim Class        Claim      Uniform    Scheduled      Claim        Amount          Amount       Interest         Tax           Net
  No.:                                       Date                               Status    Tran Code    Amount       Amount        Allowed          Paid                                    Remaining
                                                                                                                                                                                            Balance

     10   AIRGAS USA, LLC                  08/31/2016   General Unsecured      Allowed     7100-000         $0.00    $21,402.68    $21,402.68         $0.00         $0.00         $0.00     $21,402.68
                                                        726(a)(2)
         110 W. 7th Street, Suite 1300
         Tulsa OK 74119
Claim Notes: Allow
     11   JAMES VICARI                     09/09/2016   Pre Petition Wages -   Allowed     5300-000         $0.00     $4,420.00     $4,420.00         $0.00         $0.00      $1,222.13     $3,197.87
                                                        507(a)(4)
         3640 FM 455
         Montague TX 76251
Claim Notes: Allow
     12   COMDATA INC.                     09/12/2016   General Unsecured      Allowed     7100-000     $4,392.14    $11,318.41    $11,318.41         $0.00         $0.00         $0.00     $11,318.41
                                                        726(a)(2)
         5301 Maryland Way
         Brentwood TN 37027
Claim Notes: Allow
     13 H.L. CHAPMAN                       09/15/2016   General Unsecured      Allowed     7100-000   $174,376.20   $174,376.20   $174,376.20         $0.00         $0.00         $0.00    $174,376.20
        PIPELINE                                        726(a)(2)
        CONSTRUCTION, INC.
         PO Box 846241
         Attn: Scott Kehrer
         Dallas TX 75284
Claim Notes: Updated pay address
                Allow
    14 BOWIE ISD                           09/15/2016   State and Local Tax    Allowed     4800-000         $0.00     $4,657.12     $4,657.12         $0.00         $0.00         $0.00      $4,657.12
                                                        Liens (pre-peti
         PO Box 121
         Montague TX 76251
Claim Notes: Updated pay address
               Allow secured BPP
    15 MONTAGUE COUNTY                     09/20/2016   State and Local Tax    Amended     4800-000     $5,625.18     $6,902.15         $0.00         $0.00         $0.00         $0.00          $0.00
                                                        Liens (pre-peti
          c/o Sherrel K. Knighton
          Linebarger Goggan Blair &
          Sampson, LLP
          2777 N Stemmons Fwy, Suite
          1000
          Dallas TX 75207
                                      Case 16-70245-hdh7 Doc 277 Filed 09/21/20                      Entered 09/21/20 18:53:24                Page 15 of 33
                                                                                       CLAIM ANALYSIS REPORT                                        Page No: 5               Exhibit C


  Case No.                      16-70245-HDH                                                                                        Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                                Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name         Claim           Claim Class        Claim      Uniform    Scheduled      Claim        Amount          Amount       Interest        Tax            Net
  No.:                                     Date                               Status    Tran Code    Amount       Amount        Allowed          Paid                                    Remaining
                                                                                                                                                                                          Balance

   15A    MONTAGUE COUNTY                09/20/2016   State and Local Tax    Allowed     4800-000         $0.00      $401.17       $401.17          $0.00         $0.00         $0.00       $401.17
                                                      Liens (pre-peti
         c/o Sherrel K. Knighton
         Linebarger Goggan Blair &
         Sampson, LLP
         2777 N Stemmons Fwy, Suite
         1000
         Dallas TX 75207
Claim Notes: (15-2) 1st Amended
                Allow
    16 TEXAS WORKFORCE                   09/21/2016   Priority Claims of     Amended     5800-000         $0.00     $6,351.02         $0.00         $0.00         $0.00         $0.00          $0.00
        COMMISSION                                    Governmental Units -
                                                      507(a)(8)
         REGULATORY INTEGRITY
         DIVISION - SAU
         101 EAST 15TH STREET,
         ROOM 556
         AUSTIN TX 78778-0001
Claim Notes: (16-1) Unemployment taxes
   16A    TEXAS WORKFORCE                09/21/2016   Priority Claims of     Allowed     5800-000         $0.00      $502.48       $502.48          $0.00         $0.00         $0.00       $502.48
          COMMISSION                                  Governmental Units -
                                                      507(a)(8)
         Regulatory & Integrity Division -
         SAU Att: Rick Diaz
         101 E 15th Street Room 556
         Austin TX 78778-0001
Claim Notes: (16-1) Unemployment taxes(16-2) unemployment taxes
                Allow
    17 MWH GROUP, PC                       09/26/2016 General Unsecured      Allowed     7100-000      $421.36       $421.36       $421.36          $0.00         $0.00         $0.00       $421.36
                                                      726(a)(2)
         PO Box 97000
         Wichita Falls TX 76307
Claim Notes: Allow
     18 WEST TEXAS BORING                09/26/2016   General Unsecured      Allowed     7100-000   $710,182.00   $711,682.00   $711,682.00         $0.00         $0.00         $0.00    $711,682.00
        CO. LLC                                       726(a)(2)
         1201 O.I.D.C. Drive
         Odessa TX 79766
Claim Notes: Allow
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                  Entered 09/21/20 18:53:24              Page 16 of 33
                                                                                  CLAIM ANALYSIS REPORT                                      Page No: 6               Exhibit C


  Case No.                      16-70245-HDH                                                                                 Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                         Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name       Claim           Claim Class    Claim       Uniform    Scheduled      Claim       Amount         Amount       Interest        Tax            Net
  No.:                                   Date                           Status     Tran Code    Amount       Amount       Allowed         Paid                                    Remaining
                                                                                                                                                                                   Balance

     19 H&E EQUIPMENT                  09/27/2016   General Unsecured   Allowed     7100-000     $1,507.14    $1,479.35    $1,479.35         $0.00         $0.00         $0.00      $1,479.35
        SERVICES, INC.                              726(a)(2)
         7500 Pecue Lane
         Baton Rouge LA 70809
Claim Notes: Allow
     20 ELKHORN                        09/28/2016   General Unsecured   Allowed     7100-000     $7,936.20    $7,936.20    $7,936.20         $0.00         $0.00         $0.00      $7,936.20
        CONSTRUCTION INC.                           726(a)(2)
         PO Box 809
         Evanston WY 82931
Claim Notes: Allow
     21 JOHN DEERE                   09/29/2016     General Unsecured   Allowed     7100-000   $150,334.32   $44,763.11   $44,763.11         $0.00         $0.00         $0.00     $44,763.11
        FINANCIAL                                   726(a)(2)
         23176 Network Place
         Chicago IL 60673
Claim Notes: Updated payment address
               Allow
    22 JOHN DEERE                    09/29/2016     General Unsecured   Allowed     7100-000   $150,334.32   $71,215.02   $71,215.02         $0.00         $0.00         $0.00    $71,215.02
        FINANCIAL                                   726(a)(2)
         23176 Network Place
         Chicago IL 60673
Claim Notes: Updated pay address
               Allow
    23 CASTLE TRENCHING              09/29/2016     General Unsecured   Allowed     7100-000    $14,925.00   $14,925.00   $14,925.00         $0.00         $0.00         $0.00    $14,925.00
                                                    726(a)(2)
         P.O. Box 203
         Roanoke TX 76262
Claim Notes: Allow
     24   VFS LEASING CO.              10/04/2016   General Unsecured   Allowed     7100-000    $18,654.71   $10,343.66   $10,343.66         $0.00         $0.00         $0.00    $10,343.66
                                                    726(a)(2)
         P.O. Box 26131
         Greensboro NC 27402
Claim Notes: (24-1) Lease Defciency Balance
               Allow
    25 VFS LEASING CO.                10/04/2016    General Unsecured   Allowed     7100-000    $18,654.71   $32,746.34   $32,746.34         $0.00         $0.00         $0.00    $32,746.34
                                                    726(a)(2)
         P.O. Box 26131
         Greensboro NC 27402
Claim Notes: (25-1) Lease Deficiency Balance
               Allow
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                    Entered 09/21/20 18:53:24               Page 17 of 33
                                                                                    CLAIM ANALYSIS REPORT                                       Page No: 7               Exhibit C


  Case No.                      16-70245-HDH                                                                                    Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                            Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name         Claim           Claim Class     Claim      Uniform    Scheduled      Claim        Amount         Amount       Interest        Tax            Net
  No.:                                     Date                            Status    Tran Code    Amount       Amount        Allowed         Paid                                    Remaining
                                                                                                                                                                                      Balance

     26   RDO EQUIPMENT                  10/03/2016   General Unsecured   Allowed     7100-000     $6,856.71     $6,921.46    $6,921.46         $0.00         $0.00         $0.00      $6,921.46
                                                      726(a)(2)
         P.O. Box 7160
         Att: D Hoven
         Fargo ND 58106-7160
Claim Notes: Allow
     27   NTTA                           10/11/2016   General Unsecured   Allowed     7100-000       $14.55       $912.28      $912.28          $0.00         $0.00         $0.00       $912.28
                                                      726(a)(2)
         5900 W. Plano Parkway
         Attn: Angela Hough - Asst. Gen.
         Counsel
         Plano TX 75093
Claim Notes: Updated pay address
                Allow
    28 WESTERN SUPPLIES                  10/14/2016   General Unsecured   Allowed     7100-000    $10,165.52    $10,568.22   $10,568.22         $0.00         $0.00         $0.00    $10,568.22
        INC.                                          726(a)(2)
         P.O. Box 551
         Wichita Falls TX 76307
Claim Notes: Allow
     29 WELLS FARGO VENDOR          10/28/2016 General Unsecured          Allowed     7100-000      $231.71     $11,335.32   $11,335.32         $0.00         $0.00         $0.00     $11,335.32
        FINANCIAL SERVICES                     726(a)(2)
         PO Box 105710
         Atlanta GA 30348-5710
Claim Notes: Updated pay address
                Allow
    30 CNH INDUSTRIAL               11/03/2016 Personal Prop &            Amended     4210-000         $0.00   $161,448.91        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (30-1) Ref&#035; L4000030486200000001
   30A  CNH INDUSTRIAL                   11/03/2016   General Unsecured   Allowed     7100-000    $84,334.87    $70,733.69   $70,733.69         $0.00         $0.00         $0.00    $70,733.69
        CAPITAL AMERICA LLC                           726(a)(2)
         PO Box 71264
         Philadelphia PA 19176-6264
Claim Notes: Allow
                Address change 7.17.20
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                       Entered 09/21/20 18:53:24               Page 18 of 33
                                                                                       CLAIM ANALYSIS REPORT                                       Page No: 8               Exhibit C


  Case No.                      16-70245-HDH                                                                                       Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                               Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name        Claim          Claim Class        Claim        Uniform    Scheduled      Claim        Amount         Amount       Interest        Tax            Net
  No.:                                    Date                              Status      Tran Code    Amount       Amount        Allowed         Paid                                    Remaining
                                                                                                                                                                                         Balance

    30a CNH INDUSTRIAL              11/03/2016 Personal Prop &            Amended        4210-000         $0.00    $14,950.20        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (30-1) Ref&#035; L4000030486200000001
     31 CNH INDUSTRIAL              11/03/2016 Personal Prop &            Amended        4210-000         $0.00    $84,051.06        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (31-1) Ref&#035; L4000030301900000001
    31a CNH INDUSTRIAL               11/03/2016     Personal Prop &       Disallowed     4210-000         $0.00    $84,051.06        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                         Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: Disallowed Order Dkt# 221
     32 CNH INDUSTRIAL              11/03/2016 Personal Prop &            Amended        4210-000         $0.00   $141,388.58        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (32-1) Ref&#035; L4000030301900000002
    32a CNH INDUSTRIAL              11/03/2016 Personal Prop &            Amended        4210-000         $0.00    $13,974.96        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (32-1) Ref&#035; L4000030301900000002
   32A  CNH INDUSTRIAL                  11/03/2016 General Unsecured       Allowed       7100-000    $49,084.52    $63,877.81   $63,877.81         $0.00         $0.00         $0.00    $63,877.81
        CAPITAL AMERICA LLC                        726(a)(2)
         PO Box 71264
         Philadelphia PA 19176-6264
Claim Notes: Allow
                Updated address 7.17.20
    33 CNH INDUSTRIAL                   11/03/2016 Personal Prop &        Amended        4210-000         $0.00   $112,786.67        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                        Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (33-1) Ref&#035; L4000030301900000003
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                   Entered 09/21/20 18:53:24               Page 19 of 33
                                                                                   CLAIM ANALYSIS REPORT                                       Page No: 9               Exhibit C


  Case No.                      16-70245-HDH                                                                                   Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                           Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name        Claim          Claim Class      Claim      Uniform    Scheduled      Claim        Amount         Amount       Interest        Tax            Net
  No.:                                    Date                            Status    Tran Code    Amount       Amount        Allowed         Paid                                    Remaining
                                                                                                                                                                                     Balance

    33a CNH INDUSTRIAL              11/03/2016 Personal Prop &           Amended     4210-000         $0.00     $9,551.84        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (33-1) Ref&#035; L4000030301900000003
   33A  CNH INDUSTRIAL                  11/03/2016 General Unsecured     Allowed     7100-000         $0.00    $28,853.23   $28,853.23         $0.00         $0.00         $0.00    $28,853.23
        CAPITAL AMERICA LLC                        726(a)(2)
         PO Box 71264
         Philadelphia PA 19176-6264
Claim Notes: Amended deficiency claim
                Allow
                Updated address 7.17.20
    34 CNH INDUSTRIAL                   11/03/2016 Personal Prop &       Amended     4210-000         $0.00   $144,478.15        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                        Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (34-1) Ref&#035; L4000030301900000004
    34a CNH INDUSTRIAL              11/03/2016 Personal Prop &           Amended     4210-000         $0.00    $13,989.28        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (34-1) Ref&#035; L4000030301900000004
   34A  CNH INDUSTRIAL                  11/03/2016 General Unsecured     Allowed     7100-000         $0.00    $45,033.89   $45,033.89         $0.00         $0.00         $0.00    $45,033.89
        CAPITAL AMERICA LLC                        726(a)(2)
         PO Box 71264
         Philadelphia PA 19176-6264
Claim Notes: Amended deficiency claim
                Allow
                Updated address 7.17.20
    35 CNH INDUSTRIAL                   11/03/2016 Personal Prop &       Amended     4210-000    $84,334.87    $53,588.64        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                        Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (35-1) Ref&#035; L4000030301900000005
    35a CNH INDUSTRIAL              11/03/2016 Personal Prop &           Amended     4210-000         $0.00     $6,408.64        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (35-1) Ref&#035; L4000030301900000005
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                   Entered 09/21/20 18:53:24               Page 20 of 33
                                                                                   CLAIM ANALYSIS REPORT                                       Page No: 10              Exhibit C


  Case No.                      16-70245-HDH                                                                                   Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                           Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name        Claim          Claim Class      Claim      Uniform    Scheduled      Claim        Amount         Amount       Interest        Tax            Net
  No.:                                    Date                            Status    Tran Code    Amount       Amount        Allowed         Paid                                    Remaining
                                                                                                                                                                                     Balance

   35A  CNH INDUSTRIAL                  11/03/2016 General Unsecured     Allowed     7100-000         $0.00    $20,185.69   $20,185.69         $0.00         $0.00         $0.00    $20,185.69
        CAPITAL AMERICA LLC                        726(a)(2)
         PO Box 71264
         Piladelphia PA 19176-6264
Claim Notes: Amended deficiency claim
                Allow
                Updated address 7.17.20
    36 CNH INDUSTRIAL                   11/03/2016 Personal Prop &       Amended     4210-000    $84,334.87    $85,111.08        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                        Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (36-1) Ref&#035; L4000030301900000006
    36a CNH INDUSTRIAL              11/03/2016 Personal Prop &           Amended     4210-000         $0.00     $6,108.21        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (36-1) Ref&#035; L4000030301900000006
   36A  CNH INDUSTRIAL                  11/03/2016 General Unsecured     Allowed     7100-000         $0.00    $33,501.66   $33,501.66         $0.00         $0.00         $0.00    $33,501.66
        CAPITAL AMERICA LLC                        726(a)(2)
         PO Box 71264
         Philadelphia PA 19176-6264
Claim Notes: Amended deficiency claim
                Allow
                Updated address 7.17.20
    37 CNH INDUSTRIAL                   11/03/2016 Personal Prop &       Amended     4210-000    $84,334.87   $148,661.28        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                        Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (37-1) Ref&#035; L4000030301900000007
    37a CNH INDUSTRIAL              11/03/2016 Personal Prop &           Amended     4210-000         $0.00    $13,975.16        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (37-1) Ref&#035; L4000030301900000007
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                       Entered 09/21/20 18:53:24               Page 21 of 33
                                                                                       CLAIM ANALYSIS REPORT                                       Page No: 11              Exhibit C


  Case No.                      16-70245-HDH                                                                                       Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                               Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name        Claim           Claim Class       Claim        Uniform    Scheduled      Claim        Amount         Amount       Interest        Tax            Net
  No.:                                    Date                              Status      Tran Code    Amount       Amount        Allowed         Paid                                    Remaining
                                                                                                                                                                                         Balance

   37A  CNH INDUSTRIAL                  11/03/2016 General Unsecured        Allowed      7100-000         $0.00    $55,402.23   $55,402.23         $0.00         $0.00         $0.00    $55,402.23
        CAPITAL AMERICA LLC                        726(a)(2)
         PO Box 71264
         Philadelphia PA 19176-6264
Claim Notes: Amended deficiency claim
                Allow
                Updated address 7.17.20
    38 CNH INDUSTRIAL                   11/03/2016 Personal Prop &         Amended       4210-000    $84,334.87   $181,557.34        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                        Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (38-1) Ref&#035; L4000030301900000008
    38a CNH INDUSTRIAL              11/03/2016 Personal Prop &             Amended       4210-000         $0.00    $18,346.76        $0.00         $0.00         $0.00         $0.00         $0.00
        CAPITAL AMERICA LLC                    Intang - Consensual
         PO Box 3600
         Lancaster PA 17604-3600
Claim Notes: (38-1) Ref&#035; L4000030301900000008
   38A  CNH INDUSTRIAL                  11/03/2016   General Unsecured      Allowed      7100-000         $0.00    $75,702.37   $75,702.37         $0.00         $0.00         $0.00    $75,702.37
        CAPITAL AMERICA LLC                          726(a)(2)
         PO Box 71264
         Philadelphia PA 19176-6264
Claim Notes: Amended deficiency claim
                Allow
                Updated address 7.17.20
    39 RUSSELL F. WATTERS               11/10/2016   Personal Prop &       Withdrawn     4210-000         $0.00   $200,000.00        $0.00         $0.00         $0.00         $0.00         $0.00
        LIFETIME TRUST                               Intang - Consensual
         461 Brellinger
         Columbia IL 62236
Claim Notes: Order Dkt #202
                Order Dkt # 246
    40 JML MANAGEMENT,                  11/15/2016   General Unsecured      Allowed      7100-000    $14,500.00    $14,500.00   $14,500.00         $0.00         $0.00         $0.00    $14,500.00
        INC.                                         726(a)(2)
         c/o Patricia Lout
         748 State Highway 7 W.
         Center TX 75935
Claim Notes: Updated pay address
                Allow
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                        Entered 09/21/20 18:53:24                Page 22 of 33
                                                                                        CLAIM ANALYSIS REPORT                                         Page No: 12              Exhibit C


  Case No.                      16-70245-HDH                                                                                         Trustee Name:            Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                                 Date:                    8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name         Claim           Claim Class       Claim        Uniform    Scheduled      Claim        Amount          Amount        Interest        Tax            Net
  No.:                                     Date                              Status      Tran Code    Amount       Amount        Allowed          Paid                                     Remaining
                                                                                                                                                                                            Balance

     41 RETICULUM                        11/15/2016   Personal Prop &       Amended       4210-000         $0.00   $665,688.81         $0.00         $0.00          $0.00         $0.00          $0.00
        MANAGEMENT, LLC                               Intang - Consensual
         c/o Joyce W. Lindauer, PLLC
         12720 Hillcrest Road, Suite 625
         Dallas TX 75230
   41A RETICULUM                         11/15/2016   Personal Prop &        Allowed      4210-000   $553,991.80   $662,112.17     $6,424.56      $6,424.56         $0.00         $0.00          $0.00
        MANAGEMENT, LLC                               Intang - Consensual
         7291 Williamson Road
         Dallas TX 75214
Claim Notes: Updated pay address
                Allow per settlement
    42 SOUTHLAND SAFETY                  11/30/2016   General Unsecured      Allowed      7100-000     $2,000.00     $2,000.00     $2,000.00         $0.00          $0.00         $0.00      $2,000.00
                                                      726(a)(2)
         P.O. Box 1435
         Henderson TX 75653
Claim Notes: Allow
     43   GAJESKE, INC.                 12/01/2016    General Unsecured      Allowed      7100-000   $445,635.14   $500,979.90   $500,979.90         $0.00          $0.00         $0.00    $500,979.90
                                                      726(a)(2)
         Attn: Bryan Long
         6200 N Houston Rosslyn Road
         Houston TX 77091-3410
Claim Notes: Allow
     44   IPFS CORPORATION              12/02/2016    Personal Prop &       Withdrawn     4210-000    $50,140.22    $65,347.22         $0.00         $0.00          $0.00         $0.00          $0.00
                                                      Intang - Consensual
         2777 Allen Parkway
         Suite 1130
         Houston TX 77019
Claim Notes: (44-1) Balance due under premium finance agreements
                Withdrawn 10.18.17
    45 EMPLOYEE BENEFITS               12/13/2016 General Unsecured          Allowed      7100-000      $102.00       $102.00       $102.00          $0.00          $0.00         $0.00       $102.00
        CORPORATION                                726(a)(2)
         PO Box 44347
         Madison WI 53744-4347
Claim Notes: Allow
     46 HAROLD                        12/13/2016      General Unsecured     Withdrawn     7100-000   $116,606.51   $254,106.86         $0.00         $0.00          $0.00         $0.00          $0.00
        &QUOT;TEX&QUOT;                               726(a)(2)
        ALLEN, JR.
         P.O. Box 339
         Alvord TX 76225
Claim Notes: Withdrawn per settlement
                                      Case 16-70245-hdh7 Doc 277 Filed 09/21/20                                Entered 09/21/20 18:53:24                Page 23 of 33
                                                                                            CLAIM ANALYSIS REPORT                                              Page No: 13              Exhibit C


   Case No.                      16-70245-HDH                                                                                                 Trustee Name:            Shawn K. Brown
   Case Name:                    TOTAL OPERATING, LLC                                                                                         Date:                    8/10/2020
   Claims Bar Date:              12/15/2016

 Claim                Creditor Name         Claim           Claim Class            Claim        Uniform       Scheduled      Claim        Amount          Amount        Interest        Tax            Net
  No.:                                      Date                                   Status      Tran Code       Amount       Amount        Allowed          Paid                                     Remaining
                                                                                                                                                                                                     Balance

     47   JASON ALLEN                     12/13/2016   General Unsecured        Withdrawn       7100-000       $53,818.39   $191,318.82         $0.00          $0.00         $0.00         $0.00          $0.00
                                                       726(a)(2)
         P.O. Box 339
         Alvord TX 76225
Claim Notes: Withdrawn per settlement
     48 OPERATING CAPITAL,            12/13/2016       General Unsecured        Withdrawn       7100-000            $0.00     $5,000.00         $0.00          $0.00         $0.00         $0.00          $0.00
        LLC                                            726(a)(2)
         P.O. Box 186
         Alvord TX 76225
Claim Notes: Withdrawn per settlement
     49 WISE FIRE & SAFETY,               12/13/2016   General Unsecured         Allowed        7100-000        $5,642.72     $5,817.39     $5,817.39          $0.00         $0.00         $0.00      $5,817.39
        LLC.                                           726(a)(2)
         P.O. Box 259
         Alvord TX 76225
Claim Notes: Allow
     50 CAPITAL ONE,                    12/14/2016 Personal Prop &               Allowed        4210-000      $212,816.04   $391,774.18    $65,253.06     $65,253.06         $0.00         $0.00          $0.00
        NATIONAL                                    Intang - Consensual
        ASSOCIATION
         c/o Laurel Varney
         600 N. Pearl St.
         Suite 2500
         Dallas TX 75201
Claim Notes: (50-1) Money Loaned.
                Order DE#79 allows $75,253.06 payment less $10,000 carve out for net payment of $65,253.06.
                Paid
    51 THE TRAVELERS                    12/07/2016 General Unsecured             Allowed        7100-000            $0.00         $0.00         $0.00          $0.00         $0.00         $0.00          $0.00
        INDEMNITY COMPANY                           726(a)(2)
         Travelers - Account Resolution
         One Tower Square 0000-CR09A
         Hartford CT 06183
Claim Notes: No amount claimed
     52 CATERPILLAR                       12/15/2016   General Unsecured         Allowed        7100-000       $41,357.65   $411,281.33   $411,281.33          $0.00         $0.00         $0.00    $411,281.33
        FINANCIAL SERVICES                             726(a)(2)
        CORP.
         P.O. Box 730681
         Dallas TX 75373-0681
Claim Notes: Allow
                                     Case 16-70245-hdh7 Doc 277 Filed 09/21/20                       Entered 09/21/20 18:53:24               Page 24 of 33
                                                                                       CLAIM ANALYSIS REPORT                                       Page No: 14              Exhibit C


  Case No.                      16-70245-HDH                                                                                       Trustee Name:           Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                               Date:                   8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name       Claim           Claim Class        Claim        Uniform    Scheduled      Claim        Amount         Amount       Interest        Tax            Net
  No.:                                   Date                               Status      Tran Code    Amount       Amount        Allowed         Paid                                    Remaining
                                                                                                                                                                                         Balance

     53 THE TRAVELERS                 12/07/2016    General Unsecured      Allowed       7100-000         $0.00         $0.00        $0.00         $0.00         $0.00         $0.00         $0.00
        INDEMNITY COMPANY                           726(a)(2)
         Account Resolution - Michael
         Gauntlett
         One Tower Square, 0000-CR09A
         Hartford CT 06183
Claim Notes: No amount claimed
     54 TBK BANK, SSB D/B/A          12/15/2016     Personal Prop &       Disallowed     4210-000         $0.00   $118,255.83        $0.00         $0.00         $0.00         $0.00         $0.00
        TRIUMPH                                     Intang - Consensual
        COMMERCIAL FINANCE
         3 Park Central, Suite 1700
         12700 Park Central
         Dallas TX 75251
Claim Notes: Disallowed Order Dkt# 222
     55 JOHN DEERE                     12/15/2016   General Unsecured      Allowed       7100-000   $150,334.32    $16,118.82   $16,118.82         $0.00         $0.00         $0.00     $16,118.82
        FINANCIAL                                   726(a)(2)
         23176 Network Place
         Chicago IL 60673
Claim Notes: Allow
     56 JOHN DEERE                     12/15/2016   General Unsecured      Allowed       7100-000   $150,334.32    $17,940.87   $17,940.87         $0.00         $0.00         $0.00    $17,940.87
        FINANCIAL                                   726(a)(2)
         23176 Network Place
         Chicago IL 60673
Claim Notes: Allow
     57 JOHN DEERE                     12/15/2016   General Unsecured      Allowed       7100-000   $150,334.32    $31,948.37   $31,948.37         $0.00         $0.00         $0.00    $31,948.37
        FINANCIAL                                   726(a)(2)
         23176 Network Place
         Chicago IL 60673
Claim Notes: Allow
     58 JOHN DEERE                     12/15/2016   General Unsecured      Allowed       7100-000   $150,334.32    $41,826.94   $41,826.94         $0.00         $0.00         $0.00    $41,826.94
        FINANCAIL                                   726(a)(2)
         23176 Network Place
         Chicago IL 60673
Claim Notes: Allow
     59 JOHN DEERE                     12/15/2016   General Unsecured      Allowed       7100-000   $150,334.32    $33,701.19   $33,701.19         $0.00         $0.00         $0.00    $33,701.19
        FINANCIAL                                   726(a)(2)
         23176 Network Place
         Chicago IL 60673
Claim Notes: Allow
                                       Case 16-70245-hdh7 Doc 277 Filed 09/21/20                       Entered 09/21/20 18:53:24               Page 25 of 33
                                                                                         CLAIM ANALYSIS REPORT                                       Page No: 15              Exhibit C


   Case No.                      16-70245-HDH                                                                                        Trustee Name:           Shawn K. Brown
   Case Name:                    TOTAL OPERATING, LLC                                                                                Date:                   8/10/2020
   Claims Bar Date:              12/15/2016

 Claim                Creditor Name           Claim          Claim Class        Claim      Uniform    Scheduled      Claim        Amount         Amount       Interest        Tax            Net
  No.:                                        Date                              Status    Tran Code    Amount       Amount        Allowed         Paid                                    Remaining
                                                                                                                                                                                           Balance

     60 JOHN DEERE                        12/15/2016    General Unsecured      Allowed     7100-000   $150,334.32    $72,430.69   $72,430.69         $0.00         $0.00         $0.00    $72,430.69
        FINANCIAL                                       726(a)(2)
         23176 Network Place
         Chicago IL 60673
Claim Notes: Allow
     61   COMPTROLLER OF                  04/13/2017    Priority Claims of     Allowed     5800-000         $0.00    $10,465.84   $10,465.84         $0.00         $0.00         $0.00    $10,465.84
          PUBLIC ACCOUNTS                               Governmental Units -
                                                        507(a)(8)
         c/o Office of the Attorney General
         Bankruptcy & Collections
         Division MC 008
         PO Box 12548
         Austin TX 78711-2548
Claim Notes: Allow
    61a COMPTROLLER OF                     04/13/2017   General Unsecured      Allowed     7100-000         $0.00     $1,070.50    $1,070.50         $0.00         $0.00         $0.00     $1,070.50
        PUBLIC ACCOUNTS                                 726(a)(2)
         c/o Office of the Attorney General
         Bankruptcy & Collections
         Division MC 008
         PO Box 12548
         Austin TX 78711-2548
Claim Notes: Allow
     62 RHJR, LTD., DBA                   07/19/2017    Tardy General          Allowed     7200-000         $0.00      $322.94      $322.94          $0.00         $0.00         $0.00       $322.94
        ALVORD BUILDING                                 Unsecured 726(a)(3)
        CENTER
         1002 10th St
         BRIDGEPORT TX 76426
Claim Notes: Allow tardy
     63   INTERNAL REVENUE                09/12/2017    Priority Claims of     Amended     5800-000         $0.00   $186,638.30        $0.00         $0.00         $0.00         $0.00         $0.00
          SERVICE                                       Governmental Units -
                                                        507(a)(8)
           Employment Taxes

    63a   INTERNAL REVENUE                09/12/2017    Priority Claims of     Allowed     5800-000    $50,417.22    $50,811.64   $38,803.17         $0.00         $0.00         $0.00    $38,803.17
          SERVICE                                       Governmental Units -
                                                        507(a)(8)
         PO Box 7317
         Philadelphia PA 19101-7317
Claim Notes: Allow
                                      Case 16-70245-hdh7 Doc 277 Filed 09/21/20                     Entered 09/21/20 18:53:24                   Page 26 of 33
                                                                                      CLAIM ANALYSIS REPORT                                            Page No: 16              Exhibit C


  Case No.                      16-70245-HDH                                                                                          Trustee Name:            Shawn K. Brown
  Case Name:                    TOTAL OPERATING, LLC                                                                                  Date:                    8/10/2020
  Claims Bar Date:              12/15/2016

 Claim               Creditor Name         Claim           Claim Class      Claim       Uniform    Scheduled       Claim          Amount          Amount        Interest        Tax            Net
  No.:                                     Date                             Status     Tran Code    Amount        Amount          Allowed          Paid                                     Remaining
                                                                                                                                                                                             Balance

    63b INTERNAL REVENUE                 12/10/2019   Tardy General         Allowed     7200-000        $0.00     $50,811.64      $12,008.47           $0.00         $0.00         $0.00    $12,008.47
        SERVICE                                       Unsecured 726(a)(3)
         P.O. Box 7346
         Philadelphia PA 19101-7346
Claim Notes: Allow tardy
     64   WILLIAM B. DEAN                12/04/2017   Tardy General         Allowed     7200-000        $0.00          $0.00           $0.00           $0.00         $0.00         $0.00         $0.00
                                                      Unsecured 726(a)(3)
         2323 Bryan Street, Suite 2200
         Dallas TX 75040
Claim Notes: No amount claimed
                Tardy
    65 JACOB WATTERS                     12/11/2017   Tardy General         Allowed     7200-000        $0.00          $0.00           $0.00           $0.00         $0.00         $0.00         $0.00
                                                      Unsecured 726(a)(3)
         c/o Andrew G. Edson, Esq.
         Strasburger & Price, LLP
         901 Main Street, Suite 6000
         Tex 75202
Claim Notes: No amount claimed
                Tardy
    66 THE BUILDING                    03/21/2018 General Unsecured         Allowed     7100-000        $0.00        $277.18         $277.18           $0.00         $0.00         $0.00       $277.18
        CENTERS                                      726(a)(2)
         1002 10th St.
         BRIDGEPORT TX 76426
Claim Notes: Allow timely. Notice sent 3/15/18 in response to invoices.
                                                                                                                $7,651,578.74   $3,501,571.90    $345,297.45         $0.00   $3,642.50 $3,153,710.30
                                    Case 16-70245-hdh7 Doc 277 Filed 09/21/20       Entered 09/21/20 18:53:24             Page 27 of 33
                                                                   CLAIM ANALYSIS REPORT                                               Page No: 17                 Exhibit C


Case No.                      16-70245-HDH                                                                         Trustee Name:               Shawn K. Brown
Case Name:                    TOTAL OPERATING, LLC                                                                 Date:                       8/10/2020
Claims Bar Date:              12/15/2016


      CLAIM CLASS SUMMARY TOTALS

                                             Claim Class              Claim           Amount         Amount                 Interest                 Tax                  Net
                                                                     Amount           Allowed         Paid                                                             Remaining
                                                                                                                                                                        Balance


           Accountant for Trustee Expenses (Ot                           $355.17          $355.17       $355.17                    $0.00                   $0.00                 $0.00

           Accountant for Trustee Fees (Other                         $82,945.00       $59,445.00     $59,445.00                   $0.00                   $0.00                 $0.00

           Administrative Rent (post-petition                          $8,000.00        $8,000.00      $8,000.00                   $0.00                   $0.00                 $0.00

           Attorney for Trustee Expenses (Othe                        $14,379.41       $14,379.41     $14,379.41                   $0.00                   $0.00                 $0.00

           Attorney for Trustee Fees (Other Fi                       $252,274.50      $163,974.59    $163,974.59                   $0.00                   $0.00                 $0.00

           Auctioneer for Trustee Expenses                            $24,849.66       $24,849.66     $24,849.66                   $0.00                   $0.00                 $0.00

           Bond Payments                                               $2,616.00        $2,616.00      $2,616.00                   $0.00                   $0.00                 $0.00

           General Unsecured 726(a)(2)                              $3,504,138.33    $3,053,712.65         $0.00                   $0.00                   $0.00       $3,053,712.65

           Personal Prop & Intang - Consensual                      $3,397,606.03      $71,677.62     $71,677.62                   $0.00                   $0.00                 $0.00

           Pre Petition Wages - 507(a)(4)                             $13,173.60       $13,173.60          $0.00                   $0.00             $3,642.50            $10,609.45

           Priority Claims of Governmental Units - 507(a)(8)         $255,986.52       $50,988.73          $0.00                   $0.00                   $0.00          $50,988.73

           Real Property Tax Liens (pre-petiti                        $11,149.73            $0.00          $0.00                   $0.00                   $0.00                 $0.00

           State and Local Tax Liens (pre-peti                        $11,960.44        $5,058.29          $0.00                   $0.00                   $0.00           $5,058.29

           Tardy General Unsecured 726(a)(3)                          $51,134.58       $12,331.41          $0.00                   $0.00                   $0.00          $12,331.41

           Trustee Compensation                                       $20,680.00       $20,680.00          $0.00                   $0.00                   $0.00          $20,680.00

           Trustee Expenses                                              $329.77          $329.77          $0.00                   $0.00                   $0.00               $329.77
Case 16-70245-hdh7 Doc 277 Filed 09/21/20                 Entered 09/21/20 18:53:24           Page 28 of 33



                                                                                             Exhibit D
                                 TRUSTEE’S PROPOSED DISTRIBUTION

 Case No.:           16-70245-HDH7
 Case Name:          TOTAL OPERATING, LLC
 Trustee Name:       Shawn K. Brown

                                                                 Balance on hand:               $157,808.23


          Claims of secured creditors will be paid as follows:

 Claim No. Claimant                    Claim Asserted             Allowed         Interim          Proposed
                                                                 Amount of     Payments to          Amount
                                                                    Claim            Date
           14 Bowie ISD                      $4,657.12            $4,657.12          $0.00         $4,657.12
           15 Montague County                $6,902.15                $0.00          $0.00               $0.00
         15A Montague County                   $401.17             $401.17           $0.00           $401.17
           30 CNH Industrial               $161,448.91                $0.00          $0.00               $0.00
              Capital America LLC
         30a CNH Industrial                 $14,950.20                $0.00          $0.00               $0.00
             Capital America LLC
           31 CNH Industrial                $84,051.06                $0.00          $0.00               $0.00
              Capital America LLC
           32 CNH Industrial               $141,388.58                $0.00          $0.00               $0.00
              Capital America LLC
         32a CNH Industrial                 $13,974.96                $0.00          $0.00               $0.00
             Capital America LLC
           33 CNH Industrial               $112,786.67                $0.00          $0.00               $0.00
              Capital America LLC
         33a CNH Industrial                  $9,551.84                $0.00          $0.00               $0.00
             Capital America LLC
           34 CNH Industrial               $144,478.15                $0.00          $0.00               $0.00
              Capital America LLC
         34a CNH Industrial                 $13,989.28                $0.00          $0.00               $0.00
             Capital America LLC
           35 CNH Industrial                $53,588.64                $0.00          $0.00               $0.00
              Capital America LLC
         35a CNH Industrial                  $6,408.64                $0.00          $0.00               $0.00
             Capital America LLC
           36 CNH Industrial                $85,111.08                $0.00          $0.00               $0.00
              Capital America LLC
         36a CNH Industrial                  $6,108.21                $0.00          $0.00               $0.00
             Capital America LLC



 UST Form 101-7-TFR (5/1/2011)
Case 16-70245-hdh7 Doc 277 Filed 09/21/20                   Entered 09/21/20 18:53:24             Page 29 of 33




           37 CNH Industrial                 $148,661.28              $0.00              $0.00             $0.00
              Capital America LLC
         37a CNH Industrial                   $13,975.16              $0.00              $0.00             $0.00
             Capital America LLC
           38 CNH Industrial                 $181,557.34              $0.00              $0.00             $0.00
              Capital America LLC
         38a CNH Industrial                   $18,346.76              $0.00              $0.00             $0.00
             Capital America LLC
           41 Reticulum                      $665,688.81              $0.00              $0.00             $0.00
              Management, LLC
         41A Reticulum                       $662,112.17         $6,424.56            $6,424.56            $0.00
             Management, LLC
           50 Capital One, National          $391,774.18        $65,253.06           $65,253.06            $0.00
              Association


                                            Total to be paid to secured creditors:                    $5,058.29
                                                             Remaining balance:                     $152,749.94

          Applications for chapter 7 fees and administrative expenses have been filed as follows:

 Reason/Applicant                                                   Total          Interim             Proposed
                                                                Requested       Payments to            Payment
                                                                                      Date
 Shawn K. Brown, Trustee Fees                                   $20,680.00               $0.00        $20,680.00
 Shawn K. Brown, Trustee Expenses                                  $329.77               $0.00          $329.77
 Rochelle McCullough LLP, Attorney for Trustee                 $163,974.59       $163,974.59               $0.00
 Fees
 Rochelle McCullough LLP, Attorney for Trustee                  $14,379.41           $14,379.41            $0.00
 Expenses
 Litzler Segner Shaw & McKenney LLP, Accountant                 $59,445.00           $59,445.00            $0.00
 for Trustee Fees
 Litzler Segner Shaw & McKenney LLP, Accountant                    $355.17             $355.17             $0.00
 for Trustee Expenses
 Rosen Systems, Inc.              , Auctioneer for              $24,849.66           $24,849.66            $0.00
 Trustee Expenses
 Clerk, US Bankruptcy Court, Clerk of the Court                     $11.50              $11.50             $0.00
 Costs


                           Total to be paid for chapter 7 administrative expenses:                   $21,009.77
                                                              Remaining balance:                    $131,740.17




 UST Form 101-7-TFR (5/1/2011)
Case 16-70245-hdh7 Doc 277 Filed 09/21/20                   Entered 09/21/20 18:53:24          Page 30 of 33



          Applications for prior chapter fees and administrative expenses have been filed as follows:
 NONE



                        Total to be paid to prior chapter administrative expenses:                     $0.00
                                                              Remaining balance:                 $131,740.17

          In addition to the expenses of administration listed above as may be allowed by the Court,
 priority claims totaling $64,162.33 must be paid in advance of any dividend to general (unsecured)
 creditors.

          Allowed priority claims are:

 Claim No. Claimant                                          Allowed Amt.           Interim         Proposed
                                                                  of Claim       Payments to        Payment
                                                                                       Date
            6 Laura Hayek-Anderson                                $2,153.60            $0.00        $2,153.60
            8 Gary Cox                                            $3,900.00            $0.00        $3,900.00
            9 Marty Henson                                        $2,700.00            $0.00        $2,700.00
           11 James Vicari                                        $4,420.00            $0.00        $4,420.00
         16A Texas Workforce Commission                             $502.48            $0.00            $502.48
           61 Comptroller of Public Accounts                    $10,465.84             $0.00       $10,465.84
         63a Internal Revenue Service                           $38,803.17             $0.00       $38,803.17
               INTERNAL REVENUE SERVICE                              $79.04            $0.00             $79.04
               Federal Unemployment (Employer)
               INTERNAL REVENUE SERVICE                             $191.02            $0.00            $191.02
               Medicare (Employer)
               INTERNAL REVENUE SERVICE                             $816.76            $0.00            $816.76
               Social Security (Employer)
               TEXAS WORKFORCE                                      $130.42            $0.00            $130.42
               COMMISSION State Unemployment
               (Employer)


                                               Total to be paid to priority claims:               $64,162.33
                                                              Remaining balance:                  $67,577.84

         The actual distribution to wage claimants included above, if any, will be the proposed payment
 less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

         Timely claims of general (unsecured) creditors totaling $3,053,712.65 have been allowed and will
 be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
 timely allowed general (unsecured) dividend is anticipated to be 2.2 percent, plus interest (if applicable).

          Timely allowed general (unsecured) claims are as follows:


 UST Form 101-7-TFR (5/1/2011)
Case 16-70245-hdh7 Doc 277 Filed 09/21/20             Entered 09/21/20 18:53:24     Page 31 of 33




 Claim No. Claimant                                   Allowed Amt.       Interim        Proposed
                                                           of Claim   Payments to        Amount
                                                                            Date
            1 Holt Texas Ltd. dba Holt CAT              $368,226.09         $0.00       $8,148.73
            2 Link Field Services, Inc.                   $5,375.50         $0.00         $118.95
            5 Airgas USA, LLC                             $3,998.20         $0.00          $88.48
            7 DISA Global Solutions, Inc.                  $480.50          $0.00          $10.63
           10 Airgas USA, LLC                            $21,402.68         $0.00         $473.64
           12 Comdata Inc.                               $11,318.41         $0.00         $250.47
           13 H.L. Chapman Pipeline Construction,       $174,376.20         $0.00       $3,858.90
              Inc.
           17 MWH GROUP, PC                                $421.36          $0.00           $9.32
           18 West Texas Boring Co. LLC                 $711,682.00         $0.00      $15,749.33
           19 H&E Equipment Services, Inc.                $1,479.35         $0.00          $32.74
           20 Elkhorn Construction Inc.                   $7,936.20         $0.00         $175.63
           21 John Deere Financial                       $44,763.11         $0.00         $990.60
           22 John Deere Financial                       $71,215.02         $0.00       $1,575.97
           23 Castle Trenching                           $14,925.00         $0.00         $330.29
           24 VFS Leasing Co.                            $10,343.66         $0.00         $228.90
           25 VFS Leasing Co.                            $32,746.34         $0.00         $724.67
           26 RDO Equipment                               $6,921.46         $0.00         $153.17
           27 NTTA                                         $912.28          $0.00          $20.19
           28 Western Supplies Inc.                      $10,568.22         $0.00         $233.87
           29 Wells Fargo Vendor Financial Services      $11,335.32         $0.00         $250.85
         30A CNH Industrial Capital America LLC          $70,733.69         $0.00       $1,565.32
         32A CNH Industrial Capital America LLC          $63,877.81         $0.00       $1,413.60
         33A CNH Industrial Capital America LLC          $28,853.23         $0.00         $638.51
         34A CNH Industrial Capital America LLC          $45,033.89         $0.00         $996.59
         35A CNH Industrial Capital America LLC          $20,185.69         $0.00         $446.70
         36A CNH Industrial Capital America LLC          $33,501.66         $0.00         $741.38
         37A CNH Industrial Capital America LLC          $55,402.23         $0.00       $1,226.04
         38A CNH Industrial Capital America LLC          $75,702.37         $0.00       $1,675.27
           40 JML Management, Inc.                       $14,500.00         $0.00         $320.88
           42 Southland Safety                            $2,000.00         $0.00          $44.26
           43 Gajeske, Inc.                             $500,979.90         $0.00      $11,086.55
           45 Employee Benefits Corporation                $102.00          $0.00           $2.26
           49 Wise Fire & Safety, LLC.                    $5,817.39         $0.00         $128.74


 UST Form 101-7-TFR (5/1/2011)
Case 16-70245-hdh7 Doc 277 Filed 09/21/20                      Entered 09/21/20 18:53:24         Page 32 of 33




           51 The Travelers Indemnity Company                            $0.00           $0.00            $0.00
           52 Caterpillar Financial Services Corp.                $411,281.33            $0.00        $9,101.55
           53 The Travelers Indemnity Company                            $0.00           $0.00            $0.00
           55 John Deere Financial                                 $16,118.82            $0.00         $356.71
           56 John Deere Financial                                 $17,940.87            $0.00         $397.03
           57 John Deere Financial                                 $31,948.37            $0.00         $707.01
           58 John Deere Financail                                 $41,826.94            $0.00         $925.62
           59 John Deere Financial                                 $33,701.19            $0.00         $745.80
           60 John Deere Financial                                 $72,430.69            $0.00        $1,602.87
         61a Comptroller of Public Accounts                         $1,070.50            $0.00          $23.69
           66 The Building Centers                                    $277.18            $0.00            $6.13


                                 Total to be paid to timely general unsecured claims:               $67,577.84
                                                                 Remaining balance:                      $0.00

          Tardily filed claims of general (unsecured) creditors totaling $12,331.41 have been allowed and
 will be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
 claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
 interest (if applicable).

          Tardily filed general (unsecured) claims are as follows:

 Claim No. Claimant                                             Allowed Amt.          Interim         Proposed
                                                                     of Claim      Payments to         Amount
                                                                                         Date
           62 RHJR, Ltd., dba Alvord Building Center                  $322.94            $0.00            $0.00
         63b Internal Revenue Service                              $12,008.47            $0.00            $0.00


                        Total to be paid to tardily filed general unsecured claims:                      $0.00
                                                               Remaining balance:                        $0.00

         Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
 subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
 allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
 subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

         Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
 subordinated by the Court are as follows: NONE



                                            Total to be paid for subordinated claims:                    $0.00
                                                                  Remaining balance:                     $0.00



 UST Form 101-7-TFR (5/1/2011)
Case 16-70245-hdh7 Doc 277 Filed 09/21/20   Entered 09/21/20 18:53:24   Page 33 of 33




 UST Form 101-7-TFR (5/1/2011)
